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               Exhibit L
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From:                           Deepa Keswani Teckchandani <DKeswani@grcrisksolutions.com>
Sent:                           Tuesday, July 11, 2017 5:51 PM
To:                             mrokos@apple-bank.com; mrosner@apple-bank.com
Cc:                             Michael Amo; Whitney Rolle
Subject:                        Lookback Org Chart 7-12-2017
Attachments:                    GRC Lookback_Organization_Chart V 18_071217.pdf


Gentlemen:
As requested. The chart is as of tomorrow 7/12/2017 when we have a new investigator starting.

Let me know if you have any questions.

Regards,

Deepa
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                 Apple Bank Lookback Project Team



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                                                                                                                                                                                      Team Lead
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     Patterson        Chuck
                      Chuck Dotto
                            Dotto             Felicia
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                                                      Reback               Stuart
                                                                           Stuart Block
                                                                                  Block          Luis
                                                                                                 Luis Leb
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                                                                                                                    Ricardo Mazzitelli*
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  Roman
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                                                               Brandy Burkhart
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                                     Anacay                    Damani
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                                                                                            Olivia Jones
                                                                                                    Jones                 Toni
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   Dianne
   Dianne Phillips
           Phillips             Alex
                                Alex Gil
                                      Gil                      Nathaniel
                                                               Nathaniel Carter
                                                                          Carter          David
                                                                                          David Berkson
                                                                                                 Berkson                                                      Chris
                                                                                                                                                               Chris White
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                                             Sally
                                             Sally Kusactay*
                                                   Kusactay*                                                                                                                  Shannon
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                                              Investigator
                                               Investigator                                                                                                                     Investigator
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                                                 Team
                                                 Team 11                                                                                                                       Team
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                                                                                                                                                                                                                                                                                                 Team 33




                 *Sally Kusactay is on track to start 7/19
                 July 12, 2017
